                  Case: 1:14-cv-08576 Document #: 9 Filed: 03/24/15 Page 1 of 4 PageID #:40
O AO 121 (6/90)
TO:

                   Register of Copyrights                                                           REPORT ON THE
                   Copyright Office                                                         FILING OR DETERMINATION OF AN
                   Library of Congress                                                             ACTION OR APPEAL
                   Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                      COURT NAME AND LOCATION
        G
        ✔ ACTION            G APPEAL                                   UNITED STATES DISTRICT COURT,
DOCKET NO.                       DATE FILED                            NORTHERN DISTRICT OF ILLINOIS
        14CV8576                           10/30/2014                  EASTERN DIVISION
PLAINTIFF                                                                          DEFENDANT
Millionaire Media, LLC                                                             John Doe, subscriber assigned IP address 24.13.144.11




       COPYRIGHT
                                                             TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 see attachment

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                          G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                             TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                      .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                 WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G
            ✔ Order         G Judgment                                     G Yes        G
                                                                                        ✔ No                                         3/23/2015

CLERK                                                         (BY) DEPUTY CLERK                                            DATE

Thomas G. Bruton                                              Rosio Mendez                                                           3/24/2015
                   1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
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                   4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy



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                                            03/23/15 Page 2
                                                          1 of 4
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                       UNITED STATES DISTRICT COURT                          -
           FOR THE Northern District of Illinois − CM/ECF LIVE,      Ver
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                                                                        ROSIO
                                 Eastern Division                   DEPUTY CLERK
                                                         U.S. DISTRICT COURT, NORTHERN
                                                                 DISTRICT OF ILLINOIS
Millionaire Media, LLC                                                       -
                                             Plaintiff,              March 24, 2015
v.                                                            Case No.: 1:14−cv−08576
                                                              Honorable Robert W.
                                                              Gettleman
John Doe, subscriber assigned IP address
24.13.144.11
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 23, 2015:


       MINUTE entry before the Honorable Robert W. Gettleman: This action is
voluntarily dismissed pursuant to FRCP 41(a)(1)(A)(i), without prejudice. Civil case
terminated. Mailed notice (gds)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
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Case: 1:14-cv-08576 Document #: 9 Filed: 03/24/15 Page 4 of 4 PageID #:43
